7 F.3d 218
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.John R. MCCABE, Plaintiff, Appellant,v.Len MACH, ET AL., Defendants, Appellees.
    No. 93-1341.
    United States Court of Appeals,First Circuit.
    October 8, 1993
    
      APPEAL FROM THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF MASSACHUSETTS
      John R. McCabe on brief pro se.
      Mark P. Sutliff, Assistant Attorney General, on Motion to Join in the Brief of appellee Richard Grelotti, for appellee, Leonard Mach.
      Nancy Ankers White, Special Assistant Attorney General, and William D. Saltzman on brief for appellee, Richard Grelotti.
      D.Mass.
      AFFIRMED
      Before Breyer, Chief Judge, Selya and Boudin, Circuit Judges.
      Per Curiam.
    
    
      1
      John McCabe, a prisoner of the commonwealth of Massachusetts, appeals the district court grant of defendants' motion for summary judgment on his claims pursuant to 42 U.S.C. § 1983.1  McCabe alleges that, while incarcerated at the Treatment Center for Sexually Dangerous Persons at Bridgewater, he was subject to mechanical restraints in violation of the eighth amendment prohibition of cruel and unusual punishment.  He further alleges that he was deprived of his constitutional right of access to the courts because of restrictions placed upon his access to the law library.
    
    
      2
      We believe that the district court's opinion adequately sets forth the background of this case, and that McCabe's serious assault on a guard amply justified the restraints and disposes of the eighth amendment claim.
    
    
      3
      As for the denial of access to library facilities, the gravamen of McCabe's claim, as set forth in his brief on appeal, is that the restraints interfered with McCabe's ability to use the library.  Because McCabe admits that he was not wholly denied access, he has no claim under section 1983 without a showing of actual prejudice, such as the forfeit of a case for failure to meet filing deadlines.   See Sowell v. Vose, 941 F.2d 32, 35 (1st Cir. 1991).  But McCabe fails to make any such allegation of actual prejudice either in his complaint or in his brief on appeal.
    
    
      4
      Accordingly, we affirm the district court on the issue of library access for lack of any claim of actual prejudice.  We note that McCabe is now in another institution, and has conducted extensive litigation under new conditions, so that the library access problem of which he complains has apparently been resolved.
    
    
      5
      Affirmed.
    
    
      
        1
         The district court ordered plaintiff's claims "dismissed."  However, since the court explicitly relied on defendant affidavits and on the record, we treat its decision as a summary judgment.  See Fed.  R. Civ. P. 12(b)(6)
      
    
    